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                                   STATEMENT OF FACTS

         On January 6, 2021, your affiant, Kenneth R. Shappee, was on duty and performing my
official duties as a Special Agent. Specifically, I am assigned to the FBI Washington Field Office,
tasked with investigating criminal activity in and around the Capitol grounds, and have been an
agent with the FBI since 2002. As a Special Agent, I am authorized by Title 18, Section 3052, and
the FBI to investigate the violation of Federal criminal laws. I have training and experience in the
preparation, presentation, and service of criminal complaints, arrest and search warrants, and in
the investigation of a variety of offenses against the United States. This affidavit is based upon
my conversations with other law enforcement officers and other individuals, and upon my
examination of various reports and records. Because this affidavit is being submitted for the
limited purpose of establishing probable cause for the offenses cited below, it does not include all
the facts that I have learned during the course of the investigation. Where the contents of
conversations with others and statements by others are reported herein, they are reported in
substance and in relevant part, except where otherwise indicated.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly
after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
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Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       Based on my participation in the investigation, I submit that there is probable cause to
believe Antionne DeShaun BRODNAX committed crimes in the United States Capitol Building
on January 6, 2021, based on the following evidence.

        Shortly after January 6, 2021, a Twitter and Instagram user going by the name
“@bugziethedon” was referenced in images from various Twitter account users. One example was
on “@Homegrownterrorists” Twitter feed showed a screen recording of CNN’s livestream from
January 6, 2021, which depicted an individual that that was referenced to @bugziethedon. The
screen image below shows the individual referenced as @bugziethedon.




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       Review of CNN’s videos noted the individual below.




                                                                                            a

        Open source searches also uncovered now-deleted social media from @Bugziethedon,
which were reposted by other social media users, that showed the individual associated with
@Bugziethedon walking around inside the United States Capitol Building. One such post,
shown below, depicted @Bugziethedon sitting on the statue of Norman Borlaug in the United
States Capitol Building’s Statuary Hall.




       Other posts of the same subject, in front of and inside the Capitol on January 6, were also
provided to the FBI by tipsters. Those posts appear below.



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        In the post immediately above, it should be noted that the vehicle the subject is sitting on
is a U.S. Capitol Police SWAT truck.

        Database searches of information associated with @Bugziethedon’s social media
accounts noted the individual Antionne DeShaun BRODNAX (“BRODNAX”) appeared to be
the social media user @Bugziethedon.

        On January 15, 2021, the FBI located and interviewed BRODNAX. The interviewing
agents recognized BRODNAX as the person depicted in the images and video still above.

        BRODNAX identified himself by date of birth and social security number, and admitted
to the agents that he entered the U.S. Capitol Building on January 6, 2021. BRODNAX also
provided the following additional information. BRODNAX said he had traveled to Washington,
D.C., prior to January 6, 2021, to shoot a music video. On January 6, 2021, BRODNAX saw a
rally of which many participants descended on the U.S. Capitol Building. BRODNAX followed
the crowd to the United States Capitol Building and entered the building after United States Capitol
Police (USCP) moved the gates that blockaded the door. BRODNAX entered the United States
Capitol Building peacefully. Once inside the United States Capitol Building BRODNAX walked
around and took pictures and videos of the architecture. BRODNAX did not know the name of the
rooms that BRODNAX entered while inside the United States Capitol Building. BRODNAX did
not enter any office, nor chambers, and did not engage in violence nor theft. BRODNAX described
his immediate vicinity in the United States Capitol Building as nonviolent. BRODNAX said that
while BRODNAX was inside the United States Capitol Building BRODNAX received notice from
friends on his social media accounts that the image of BRODNAX inside the United States Capitol
Building was broadcast in a videoclip on CNN. BRODNAX said he left the United States Capitol
Building after approximately forty minutes.

       Your affiant has also obtained video footage, recorded on January 6, 2021, on a U.S.
Capitol Police camera inside the Capitol Building, that corresponds to the CNN video footage and
the above image from @bugziethedon. This footage, like the CNN footage, shows BRODNAX
walking between the rope-lines, but then also shows him stepping out from the rope-line area and
walking over toward a statue, where it appears he asks a woman to take his photograph.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Antionne DeShaun BRODNAX violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime
to (1) knowingly enter or remain in any restricted building or grounds without lawful authority to
do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions. For purposes of Section
1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted
area of a building or grounds where the President or other person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.




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       Your affiant submits there is also probable cause to believe that Antionne DeShaun
BRODNAX violated 40 U.S.C. § 5104(e)(2)(D) and (G), which make it a crime to engage in
disorderly conduct in the Capitol Buildings, and to parade, demonstrate, or picket in any of the
Capitol Buildings.


                                                   _________________________________
                                                   KENNETH R. SHAPPEE
                                                   FEDERAL BUREAU OF
                                                   INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this    day of February 2021.                                      2021.02.02
                                                                       20:46:39 -05'00' ____
                                                   _______________________________
                                                                    ZIA M. FARUQUI
                                                   U.S. MAGISTRATE JUDGE




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